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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )          4:11CR41
                                             )
                    Plaintiff,               )
                                             )
      vs.                                    )
                                             )          ORDER
VICTOR S. ZUNIGA-VALENCIA,                   )
                                             )
                    Defendant.               )

      IT IS ORDERED that:


      (1)    The government’s request for hearing is granted.


      (2)    A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 96) has been set before the undersigned United States district judge on
Thursday, December 20, 2012, at 1:00 p.m., in Courtroom No. 2, United States Courthouse
and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.


      (3)    At the request of the defendant through his counsel, and with the agreement of
the government, the defendant may be absent from the hearing on the Rule 35 motion.


      (4)    The Marshal is directed not to return the defendant to the district.


      (5)    The defendant is held to have waived his right to be present.


      Dated November 29, 2012.


                                         BY THE COURT:

                                         Richard G. Kopf
                                         Senior United States District Judge
